                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                       DOCKET NO. 3:14-cr-00229-MOC-DCK

 UNITED STATES OF AMERICA,                 )
                                           )
                                           )
                                           )
 Vs.                                       )                    ORDER
                                           )
 AHKEEM TAHJA MCDONALD,                    )
                                           )
                Defendant.                 )



       THIS MATTER is before the court on defendant’s Motion for Revocation of

Magistrate Judge’s Order of Detention, which was entered in accordance with 18, United

States Code, Section 3142(e). Specifically, the magistrate judge found that there was

probable cause to believe that the defendant committed an offense for which a maximum

term of imprisonment of ten years or more is prescribed in 18 U.S.C. §§ 1959 & 1962 and

under 18 U.S.C. § 924(c). Further, the magistrate judge determined that defendant had not

rebutted the presumption that no condition or combination of conditions will reasonably

assure the appearance of the defendant as required and the safety of the community.

Defendant was ordered detained as the magistrate judge determined that defendant posed

an unacceptable risk of flight as well as a danger to the community. The magistrate judge

determined by a preponderance of the evidence, as follows:

       Government proffers Defendant's gang affiliation and involvement in gang
       related murder. Defendant has minimal employment history and a history of
       mental and substance abuse issues.

Order (#110) at 1.

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       In accordance with Section 3145(c), the court has promptly considered the appeal

from such detention Order. The Bail Reform Act of 1984 (hereinafter “the Act”) authorizes

and sets forth the procedures for a judicial officer to order the release or detention of an

arrested person pending trial, sentence, and appeal. In order to detain a defendant pending

trial, the judicial officer must “find[] that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of any other

person and the community.” Id. § 3142(e). Furthermore, “[w]ith regard to the risk of flight

as a basis for detention, the government must prove by a preponderance of the evidence

that no combination of conditions will reasonably assure the defendant’s presence at future

court proceedings.” United States v. Stewart, 19 Fed. Appx. 46, 48 -49 (4th Cir. 2001)

(citing United States v. Hazime, 762 F.2d 34, 37 (6th Cir.1985); United States v. Medina,

775 F.2d 1398, 1402 (11th Cir.1985) (noting that, under the Act, the clear and convincing

evidence standard applies only to a determination that “no condition or combination of

conditions will reasonably assure the safety of any other person and the community”)). The

factors to be considered in determining whether to release a defendant pending trial are set

forth in section 3142(g). Those factors include:

       (1) nature and circumstances of the offenses charged; (2) the weight of the
       evidence against the person; (3) the history and characteristics of the person,
       including family ties, the person’s character, ties to the community, and
       criminal history; and (4) the nature and seriousness of the danger to any
       person or the community that would be posed by the person’s release.

Stewart, 19 Fed. Appx. at 48.

       The court has reviewed both the written Order and the FTR recording (#110) of the

hearing and finds that Judge Cayer properly considered the government’s motion for

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detention, determined that this case qualified as a presumption case, and further properly

considered the § 3142(g) factors in ordering defendant’s detention. Clearly, it is very

appropriate to detain a defendant who the Grand Jury has determined committed murder,

an offense which could expose defendant to the death penalty or life imprisonment. While

it is clear that defendant has substantial ties to the Charlotte community, it is equally clear

from the proffer that defendant also poses a serious danger to that community. Further,

with the possibility of the death penalty or life imprisonment, the risk of flight despite those

ties is extreme. Finding no error in the magistrate judge’s determination, the Order is

affirmed.

       The court has also considered defendant’s request for bond, de novo. As did Judge

Cayer, this court has carefully considered whether there are any conditions or combination

of conditions which will reasonably assure the appearance of defendant and the safety of

the community as required. In doing so, the court has reviewed the FTR recording of the

detention hearing and has considered the nature and circumstances of the charged offense

(18 U.S.C. § 3142(f)(1)),the strength of the evidence against defendant (id. § 3142(f)(2))

as proffered by the government during that hearing, which appears to be strong, and

defendant’s character and past conduct (id. § 3142(f)(3)(A)) as presented by his counsel in

the hearing and in the instant motion. While the court has carefully considered evidence

concerning his family ties to the area, his age, and limited criminal history, and his attempts

to complete his education, there does not at this time appear to be a “condition or

combination of conditions” which would reasonably assure the appearance of defendant at

future proceedings or, in particular, the safety of the community.
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                                   ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Revocation of

Magistrate Judge’s Order of Detention, (#148 & #149) is DENIED, and the Order of

Detention is AFFIRMED.




 Signed: May 12, 2015




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